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 5
      Attorney for Defendant, DARCI EILEEN WIGDERSON
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                                   ******
11    UNITED STATES OF AMERICA,                             Case No.: 1:17-CR-000173-DAD-BAM
12                     Plaintiff,
13                                                          STIPULATION TO VACATE CURRENT
             v.                                             SENTENCING DATE; STIPULATION TO
14                                                          SET A NEW SENTENCING DATE;
      DARCI EILEEN WIGDERSON,                               ORDER.
15
                       Defendant.
16

17
             Defendant DARCI EILEEN WIGDERSON by and through her attorney, ROGER D.
18
      WILSON, and Plaintiff United States of America, by and through its counsel of record
19
      MCGREGOR SCOTT, United States Attorney, and VINCENZA RABENN, Assistant U.S.
20
      Attorney, hereby stipulate as follows:
21
             1.        The parties agree and stipulate and request that the Court find the following:
22
             2.        On February 25, 2019, defendant entered a plea of guilty before District Judge
23
      Dale A. Drozd. [Doc. No. 128]
24
             3.        On February 25, 2019, sentencing was set for May 13, 2019, and defendant was
25
      ordered to meet with U.S. Probation to set up an appointment for the pre-sentence report and
26
      recommendation. [Doc No. 128]
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 1             4.    On February 26, 2019, the U.S. Probation Office provided counsel for defendant

 2    with a Presentence Investigation Referral/Schedule advising that the investigation had been

 3    assigned to United States Probation Officer Lynda Moore

 4             5.    The Presentence Investigation Referral/Schedule outlined the schedule for the

 5    provision and submission of the Presentence Investigation Report (PSR) and Informal and

 6    Formal Objections to the report by counsel, i.e., the [Draft] Report would be made available to

 7    counsel for defendant on April 1, 2019 with Informal Objections due to Probation and opposing

 8    counsel on April 15, 2019; and the Final Report would be filed with the Court and disclosed to

 9    counsel for defendant on April 22, 2019, with Formal Objections to be filed with the Court and
10    served on Probation and opposing counsel on April 29, 2019.

11             6.    On April 10, 2019, counsel for defendant communicated with U.S. Probation

12    Officer Lynda Moore and notified her that the Draft PSR had yet to be filed with the court and

13    was now one week late. Officer Moore responded the same day stating she had been ill the past

14    two weeks and would have the draft done as soon as possible.

15             7.    On April 10, 2019, counsel for defendant responded by inquiring if the US

16    Probation Office would change the due date of April 15 for Informal Objections to the report

17    since, given the complexities of defendant’s circumstances, counsel did not feel he had enough

18    time to draft a thorough report.

19             8.    On April 10, 2019, counsel for the defendant informed Officer Moore that the

20    PSR needed to be completed as soon as possible in order to comply with Local Rule 460 of this

21    Court.

22             9.    On April 30, 2019, counsel for defendant again contacted Officer Moore

23    requesting a copy of the PSR; counsel for defendant informed Officer Moore that defendant’s

24    sentencing date was May 13 and would now need to be continued to conform with Local Rule

25    460.

26             10.   On May 2, 2019, Officer Moore responded that she was still working on the
27    PSR and inquiring about available dates for sentencing.

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 1           11.     On May 6, 2019, counsel for defendant responded by informing Officer Moore

 2    that the PSR was required as soon as possible and no later than the end of the week. In addition,

 3    counsel for the defense would discuss the matter with opposing counsel to decide on a possible

 4    new sentencing date.

 5           12.     On May 7, 2019, counsel for defendant discussed the setting of a new

 6    sentencing date with Assistant United States Attorney Vincenza Rabenn, who had no

 7    objections to continuing the sentencing date with the court’s approval.

 8           13.     On May 7, 2019, counsel for defendant notified Officer Moore of the proposed

 9    sentencing date and again reminded her that that counsel required the report as soon as possible
10    and no later than the end of the week.

11           14. By this stipulation, the parties request that the sentencing date currently scheduled

12    on May 13, 2019 be vacated and a new sentencing date for July 1, 2019, or at a time that is

13    convenient to the court, be set.

14           Counsel for defendant discussed the request to vacate the current sentencing date and

15    request a new sentencing date with Assistant United States Attorney Vincenza Rabenn and with

16    United States Probation Officer Lynda Moore before making the request of the Court.

17    IT IS SO STIPULATED.

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                                                     Respectfully submitted,
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20     Dated:         May 8, 2019              By:             /s/ Roger D. Wilson
                                                                   ROGER D. WILSON
21                                                     Attorney for DARCI EILEEN WIGDERSON
22

23
       Dated:        May 8 , 2019              By:                  /s/ Vincenza Rabenn
24                                                                 VINCENZA RABENN
                                                               Assistant United States Attorney
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 1                                              ORDER

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 3           By stipulation the currently scheduled sentencing date of May 13, 2019 is continued to

 4    July 8, 2019, at 10am.

 5    IT IS SO ORDERED.
 6
         Dated:    May 8, 2019
 7                                                      UNITED STATES DISTRICT JUDGE
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